Case 1:02-Cv-01222-.]DT Document 150 Filed 06/01/05 Page 1 of 3 Page|D 95

UNITED STA TES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE

Western Division

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Office of the Clerk ; ryan qi:;@g__;g}

on :,J.S. olef.§"§:
knew R. Di Tmh'o, clerk `j""'m' mr m Y§g§::l.`éha,.ge
242 F ederal Building U. S. Courthouse, Room 262
167 N. blain Srreet 111 South HighiandAvenne
Memphls, Tennessee 38103 Jaekson, Tennessee 38301
(901) 495-1200 ( 731 ) 421-9200

NOTICE OF SETTING

Bef'ore Judge Tu M. Pham, United States Magistrate Judge

 

June l, 2005

RE: l:OchlZZZ-T/P
Demus Rich, et al -v- City of Savannah, TN, et al

Dear Sir/Madam:

A MOTION HEARING re: Plaintijj"s Morion To Exclude The Testimony of Danny Franks,
Davia' Cagle, John Overton, and Joseph Peters, M.D. has been SET before Magistrate Judge Tu M.
Pham on WEDNESDAY, .IUNE 8, 2005 at 10:30 A.M. in Courtroom 6, 3rd floor of the Federal
Building, Memphis, Tennessee.

 

Out of town counsel may appear in person or via telephone If counsel wish to participate via
telephone, advance written notice, including the telephone number where you can be reached, must
be submitted to Magistrate Judge Pham’s chambers within three ( 3 ) business days prior to the
hearing.

If you have any questions, please contact the case manager at the telephone number provided
below.

Sincere] y,

ROBERT R. DI TROLIO, CLERK

BY=%QW)AM/

W en, Case Manager
901-495-1218

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UNITED sTETAs DISRIC COURT - WETSER DI's'TRICT oF ENNESSEE

   

Notice of Distribution

This notice confirms a copy ofthc document docketed as number 150 in
case 1:02-CV-01222 Was distributed by faX, mail, or direct printing on
June 3, 2005 to thc parties listed.

 

 

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Honorable 1 ames Todd
US DISTRICT COURT

